        Case 2:22-cv-01509-CFK Document 52 Filed 08/11/22 Page 1 of 2



              UNITED STATES DISTRICT COURT
     F O R T H E E A S T E R N D I S T R I C T O F P E N N S Y L VA N I A
                    PHILADELPHIA DIVISION


Sherice Sargent, et al.,

                       Plaintiffs,

v.                                             Case No. 2:22-cv-01509-CFK

The School District of Philadelphia, et al.,

                       Defendants.


                              NOTICE OF APPEAL
       Plaintiffs Sherice Sargent, Michele Sheridan, and Joshua Meyer appeal to the
United States Court of Appeals for the Third Circuit from the order denying the

plaintiffs’ motion for preliminary injunction, entered on August 8, 2022 (ECF No.
51).

Dated: August 11, 2022                      Respectfully submitted.

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notice of appeal                                                         Page 1 of 2
     Case 2:22-cv-01509-CFK Document 52 Filed 08/11/22 Page 2 of 2



                         CERTIFICATE OF SERVICE
   I certify that on August 11, 2022, I served this document through CM/ECF
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notice of appeal                                                    Page 2 of 2
